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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X

SYLVIA OGUNBODEDE

                                   Plaintiff,
                                                                             SCHEDULING ORDER
        -against-                                                            CV-19-3946 (ENV)

TASTEE PATTEE, LTD., et al.,

                                    Defendants.
--------------------------------------------------------------------X

All cases have been assigned to the Court’s Electronic Case Filing Program. The parties shall file all future submissions
electronically and will ONLY receive correspondence from the Court electronically. It is the responsibility of the parties
to confirm that their contact information and e-mail addresses are correct at the time of filing the complaint or answer,
as well as regularly monitor the status of their cases in order to avoid missing court appearances or deadlines set by the
Court.

        An initial conference will be held in this case at 10:00 a.m. on October 11, 2019 before United

States Magistrate Judge Steven L. Tiscione, at 225 Cadman Plaza East, Brooklyn, New York. Parties

should proceed directly to Hearing Room N504, in the North Wing, upon arrival. Counsel for all parties

must be present.

        Plaintiff’s counsel is requested to confirm with defendants’ counsel that all necessary

participants are aware of this conference. In the event an answer has not yet been filed at the time this

Order is received, plaintiff's counsel is to notify counsel for the defendant of this conference as soon as an

answer is filed. Plaintiff's counsel is to notify the undersigned, in writing, at least two days before the

scheduled conference if an answer still has not been filed. Requests for adjournments will not be

considered unless made in accordance with Chambers Individual Practices.

        PRIOR TO THE CONFERENCE, THE PARTIES ARE TO COMPLY WITH THE

REQUIREMENTS OF RULE 26(f) OF THE FED.R.CIV.P. The parties shall confer at least five

business days before the initial conference to discuss the matters specified in Fed.R.Civ.P. 26(f) and16(b);

counsel shall also discuss (1) the scope of any anticipated electronic discovery, the preservation of

electronically stored data, and the cost of locating, maintaining and producing that data, and (2) whether
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any party will rely upon expert testimony, and if so, whether counsel are able to reach an agreement on

how material exchanged between counsel and any expert witness will be treated, and in particular whether

draft expert reports and written and electronic communications between expert witnesses and counsel will

be retained.

         The parties are directed to prepare a proposed discovery plan. To assist in this process, the Court

has included in this Order a “Discovery Plan Worksheet” that must be completed and submitted to the

Court via ECF, at least two days prior to the conference. The Worksheet sets forth a date for completion

of all discovery. The parties are directed to establish reasonable interim discovery deadlines to meet the

needs of their case. At the conference, the Court will consider the parties’ suggested deadlines and, upon

consideration of the rules and practices of the assigned District Judge, enter an appropriate scheduling

order. The parties should discuss their discovery needs thoroughly in advance of the conference so that

the Court can order a realistic schedule. Once a scheduling order has been entered with the parties' input,

discovery deadlines will be enforced and amendments to the schedule will be considered only for good

cause.

         Finally, the parties should also review the attached information sheet regarding the Court’s

Alternative Dispute Resolution Program.

         SO ORDERED.


Dated: Brooklyn, New York
      July 15, 2019
                                            s/
                                           STEVEN L. TISCIONE
                                           UNITED STATES MAGISTRATE JUDGE
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                       DISCOVERY PLAN WORKSHEET

                            Phase I (Pre-Settlement Discovery)

Deadline for completion of Rule 26(a) initial disclosures and HIPAA-
compliant records authorizations:

Completion date for Phase I Discovery as agreed upon by the parties:
(Reciprocal and agreed upon document production and other discovery
necessary for a reasoned consideration of settlement. Presumptively 60
days after Initial Conference.)

Date for initial settlement conference:
(Parties should propose a date approximately 10-15 days after the
completion of Phase I Discovery, subject to the Court’s availability)

                              Phase II (Discovery and Motion Practice)


Motion to join new parties or amend the pleadings:
(Presumptively 15 days post initial settlement conference)

First requests for production of documents and for interrogatories due
by:
(Presumptively 15 days post joining/amending)

All fact discovery completed by:
(Presumptively 3.5 months post first requests for
documents/interrogatories)

Exchange of expert reports completed by:
(Presumptively 30 days post fact discovery)

Expert depositions completed by:
(Presumptively 30 days post expert reports)

COMPLETION OF ALL DISCOVERY BY:                                            JULY 11, 2020
(Presumptively 9 months after Initial Conference)

Final date to take first step in dispositive motion practice:
(Parties are directed to consult the District Judge’s Individual Rules
regarding such motion practice. Presumptively 30 days post completion of
all discovery)

Do the parties wish to be referred to the EDNY’s mediation program
pursuant to Local Rule 83.8?
                                                                 Robyn4 Weinstein,
            Case 1:19-cv-03946-ENV-ST Document 8 Filed 07/15/19 Page               ADR Administrator
                                                                        of 14 PageID   #: 25
                                                                                    t. 718.613.2578

Eastern District of New York                                                        c. 917.796.6244
                                                                                    Robyn_Weinstein@nyed.uscourts.gov

Alternative Dispute Resolution Program                                              Rita Credle, Arbitration Clerk
                                                                                    t. 718.613.2325
                                                                                    Rita.Credle@nyed.uscourts.gov




ADR at the EDNY                                                   Representation in Mediation
The Eastern District ADR office offers court annexed              The EDNY has a long standing tradition of providing pro
mediation and arbitration services to litigants. ADR services     bono legal assistance to pro se litigants. The EDNY ADR
are administered by Robyn Weinstein, the ADR Administrator        Program administers a representation in mediation
here at the Eastern District.                                     program which provides pro se litigants with claims of
                                                                  employment discrimination an opportunity to obtain
Mediation                                                         counsel for the limited purpose of mediation. In these
                                                                  cases, EDNY mediators who mediate these claims serve pro
Established in 1992, the mediation program at the Eastern
                                                                  bono.
District of New York consists of a panel of more than two
hundred and fifty mediators with varying specialties and
areas of expertise. Cases are referred to mediation by            Arbitration
judges or by party request at any time before the                 The EDNY arbitration program was established in 1986 and
disposition of the case.                                          is one of ten districts with a mandatory Court‐Annexed
Mediation is a confidential process in which parties and          Arbitration program.
counsel meet with a neutral third party who is trained in         At the EDNY a case is automatically referred to arbitration
settling disputes. Mediation provides an opportunity to           where money damages do not exceed $150,000. There is
explore a wide range of potential solutions and to address        an exception to the mandatory referral for cases involving
interests that may be outside the scope of the stated             social security, tax matters, prisoners’ civil rights and any
controversy or which could not be addressed by judicial           action based on an alleged violation of a right secured by
action. If a settlement is not reached during the mediation       the Constitution of the United States or if jurisdiction is
session, parties may proceed to trial with all appellate rights   based in whole or in part on Title 28, U.S.C. § 1343.
preserved.
                                                                  Arbitration is a process where a neutral third‐party
Mediators obtained through the court annexed mediation            arbitrator will adjudicate the dispute in an expedited
program offer their services at a reduced rate of $600.00         manner. Arbitrations are heard by one qualified arbitrator,
for the first four hours, and $250.00 per hour for each hour      unless one or more parties request a panel of three. The
thereafter. Mediators do not charge for any time spent in         arbitration hearings usually take place within six months of
preparation of the mediation session.                             the filing of the answer, and the Federal Rules of Evidence
Court annexed mediation at the EDNY is governed by Local          serve as guidelines but are not rigidly enforced. At the
Civil Rule 83.8.                                                  conclusion of the arbitration hearing the arbitrator will issue
                                                                  an award in favor one party, which will be binding, unless
Hurricane Sandy Mediation Panel                                   one of the parties requests a trial de novo.

The Court also established a Hurricane Sandy Mediation            Court Annexed Arbitration at the EDNY is governed by Local
program, as a means to resolve the litigation surrounding         Civil rule 83.7
insurance claims filed by those affected by the super storm.
                                                                  For more information about the EDNY ADR Program visit
The EDNY maintains a list of neutrals who are trained and         https://www.nyed.uscourts.gov/alternative‐dispute‐
qualified to assist parties in resolving matters related to       resolution
damage caused by Hurricane Sandy.
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                    INDIVIDUAL PRACTICE RULES OF
                  MAGISTRATE JUDGE STEVEN L. TISCIONE
                                    Effective June 10, 2019

                                  United States District Court
                                 Eastern District of New York
                                   225 Cadman Plaza East
                                     Brooklyn, NY 11201
                                Courtroom N504 – North Wing
                                Chambers N505 – North Wing

                              Telephone: (718) 613-2190
                                  Fax: (718) 613-2195
                            Judicial Assistant: Lea Vasquez
                      Law Clerks: Ian Campbell and Patrick Huber

I. Administrative Matters


A. Written Communications - ECF

      1. The Electronic Communications Filing (“ECF”) system is the primary means of
      communication with the Court. All documents directed to Magistrate Judge Tiscione in
      civil actions MUST be filed electronically, except as stated below or otherwise directed
      by the Court. Courtesy copies need not be provided to the Court except as noted herein.
      The Eastern District’s User Guide for electronic case filing is available at
      https://www.nyed.uscourts.gov/forms/cmecf-user-manual. This manual also contains
      contact information for questions regarding ECF. Parties are advised not to contact
      Chambers with questions regarding ECF registration, filing or other technical
      issues.

      2. Attorneys must file a Notice of Appearance and register to receive ECF notifications
      prior to filing any documents, and prior to making a personal appearance before the
      Court. Because all orders issued by the Court will be transmitted to counsel only
      electronically, attorneys are responsible for keeping their ECF registration current with
      the Clerk=s Office.

      3. If relief is sought from the Court, an application must be filed electronically. The
      application may be in the form of a letter but must be filed using the “Motion” event.

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B. Telephone Calls and Case Related Inquiries

      Telephone calls to chambers are permitted, but should be reserved primarily for situations
      requiring immediate attention in cases assigned or referred to Magistrate Judge Tiscione.
      For case related inquiries, counsel may call chambers at (718) 613-2190 between 9:00
      a.m. and 5:00 p.m. However, before calling on any matter, counsel should review the
      docket sheet for the case and be familiar with the proceedings to date. Calls regarding
      new arrests, bail issues, arraignments and other matters handled by the Magistrate Judge
      on criminal duty should be directed to the Magistrate Clericals at (718) 613-2620.
      Adjournment requests are not to be made telephonically.

C. Faxes

      Faxes are not permitted to be sent to chambers without the prior permission of the Court.
      In the event permission is granted, faxes shall not exceed three pages, excluding cover
      page, unless permission for a greater number of pages is granted.

D. Requests for Adjournments or Extensions of Time

      All requests for adjournments of conferences or extensions of time must be electronically
      filed, as motions, no later than 48 hours in advance of the conference date (or 3:00 p.m.
      the previous Thursday if the conference is scheduled for the following Monday or 3:00
      p.m. the previous Friday if the conference is scheduled for the following Tuesday), on
      consent of all parties (merely copying the adversary on the request is insufficient),
      and state the following:

             1) the original date of the conference and/or deadline;
             2) the number of previous requests for adjournment or extension, and whether
                these previous requests were granted or denied;
             3) whether the adversary consents, and, if not, the reasons given by the adversary
                for refusing to consent;
             4) the reason for the adjournment request;
             5) a suggested adjournment date;
             6) if the requested adjournment or extension affects any other scheduled dates, a
                proposed Revised Scheduling order must be attached.

       COUNSEL MAY NOT SEEK ADJOURNMENTS BY TELEPHONE.

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E. Pro Se Litigants

       Litigants proceeding pro se are exempt from ECF requirements. (Parties represented by
       counsel, however, must file documents electronically, even in pro se cases. Counsel
       must also provide copies of any electronically filed documents to pro se litigants). Pro
       se litigants are directed to make any filings via hand delivery or U.S. mail to the
       designated “Pro Se clerk” in the Clerk’s office, to the attention of Magistrate Judge
       Tiscione and the appropriate District Judge, and by delivering a copy to the attorney for
       the opposing party. Court orders will be provided to pro se litigants by U.S. mail at the
       current address listed on the docket sheet. Pro se litigants must keep current contact
       information on file with the Court, or risk dismissal of claims or other sanctions. All pro
       se litigants and represented parties opposing pro se litigants are directed to the relevant
       Local Civil Rules, including 12.1, 33.2, and 56.2.


II. Discovery and Settlement

Rule 1 of the Federal Rules of Civil Procedure requires that disputes be resolved in a manner that
is Ajust, speedy and inexpensive.@ As such, the Court has an obligation to vigorously explore
efforts to reduce litigation costs through settlement. See In re Tobacco Litig., 192 F.R.D. 90, 95
(E.D.N.Y. 2000) (describing the Court=s Aduty to take affirmative action assisting the parties in
all possible settlement options@); In re BitTorrent, 2012 WL 1570765 (E.D.N.Y. 2012) (same).
The financial and incidental costs, risks, delays, distraction and anguish associated with litigation
often makes settlement a preferable choice for litigants. Even for those cases that cannot be
resolved through settlement, early consideration of settlement can allow the parties to better
understand the factual and legal nature of their dispute and streamline the issues to be litigated.
Therefore, counsel and pro se parties should be prepared and authorized to discuss settlement at
every court appearance.

A. Initial Conference and Scheduling Orders

       Rule 26(f) requires that the parties meet and confer prior to the Initial Conference, and to
       prepare a proposed discovery plan. For cases where all parties are represented by
       counsel, UNLESS OTHERWISE DIRECTED, the Worksheet must be completed and
       submitted to the Court. For cases where one or more parties are appearing pro se, the
       Court will work with the parties to complete the Worksheet during the initial conference.
       To assist the parties, the Court attaches a ADiscovery Plan Worksheet@ to the Initial
       Conference Order. The Worksheet must be completed and submitted to the Court via

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     ECF at least two days prior to the Initial Conference. The Worksheet provides a final
     date, set by the Court, for completion of discovery. The parties are encouraged to
     establish interim deadlines that realistically meet the needs of this specific case, and may
     also include additional deadlines, if appropriate. The parties should discuss their
     discovery needs thoroughly and realistically in advance of the Initial Conference so that
     the Court may adopt a realistic schedule in conjunction with the assigned District Judge=s
     Rules. Once a Scheduling Order has been entered with the parties= input, the discovery
     deadlines will be enforced and amended only upon a showing of good cause. The
     Scheduling Order issued by the Court will set additional dates as appropriate.

     Because most civil cases are referred to Magistrate Judge Tiscione for the purposes of
     supervision of discovery and exploring potential resolution, discovery will be structured
     so as to facilitate reasoned consideration of settlement at the earliest possible juncture:

     Phase I Discovery consists of the information that parties believe needs to be exchanged
     before a reasoned settlement discussion can take place. In some cases this may consist
     of nothing more than initial disclosures; in other cases, more extensive exchanges of
     information may be required. This phase of discovery should be carefully tailored to
     avoid expense and delay and with the recognition that parties may have to consider
     resolution with incomplete information. This phase of discovery will presumptively
     require no more than 60 days.

     The parties are required to determine what Phase I discovery, if any, is required before
     meaningful, reasoned settlement discussions may be held. Each party must itemize
     Phase I discovery items on the attached worksheet and submit it prior to the Initial
     Conference.

     Phase II Discovery represents the balance of discovery required to prepare for mediation
     and/or trial. This phase of discovery will only be undertaken if the parties are unable to
     reach an agreement at the settlement conference.

     In addition, the parties should reach an agreement relating to whether there will be
     production of electronically-stored information (AESI@), and if so, the procedures to be
     used and the form(s) and procedures in and by which such discovery is to be produced.
     See Fed. R. Civ. P. 26(f)(3)(C).


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B. Settlement Conference

      1. Pre-Conference Exchange of a Demand and an Offer. A settlement conference is
      more likely to be productive if, before the conference, the parties exchange written
      settlement proposals. Accordingly, at least fourteen (14) days prior to the settlement
      conference, plaintiff=s counsel shall submit a written itemization of damages and
      settlement demand to defendant=s counsel with a brief explanation of why such a
      settlement is appropriate. No later than seven (7) days prior to the settlement
      conference, defendant=s counsel shall submit a written offer to plaintiff=s counsel with a
      brief explanation of why such a settlement is appropriate.

      2. Settlement Statements. At least three days before the settlement conference, each
      party shall file a 1-3 page settlement position statement ex parte via ECF (for instructions
      on how to file documents ex parte please consult the Eastern District’s User Guide for
      electronic case filing available on the EDNY website or contact 718-613-2610). These
      statements must specify the terms on which the party is willing to settle the case, whether
      those terms are negotiable, and an explanation of that position. It must have attached to
      it the party’s communicated demand or offer, as prescribed in paragraph II.B.1 above, but
      no other additional exhibits. As these ex parte statements will be treated as confidential
      and will not be publicly docketed, they should include a realistic statement of the party=s
      settlement position.

      3. Attendance of Parties Strongly Encouraged. Parties with full and complete
      settlement authority are required to personally attend the conference UNLESS
      OTHERWISE DIRECTED. An insured party shall appear with a representative of the
      insurer(s) authorized to negotiate, and who has full authority to settle the matter. In the
      case of a Government or municipal entity requiring the approval of a body, such as a
      board, legislature or agency, the individual attending the conference must be fully
      authorized to approve and submit a recommendation to that governing body or to contact
      in real time the person authorized to make such a recommendation.

      Because the Court generally sets aside significant time for each conference, it is difficult
      for a party who is not present to appreciate the process and the reasons which may justify
      a change in one=s perspective towards settlement. In that regard, and because the Court
      and the parties invest significant resources in these conferences, all efforts should be


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       made to ensure the personal attendance of the parties. In any case where personal
       attendance by a party would impose an undue hardship or result in a significant delay in
       the scheduling of a settlement conference, counsel may make an application for the
       absent party and/or representative with full settlement authority must be available by
       telephone for the duration of the conference. However, the Court will use its discretion
       in granting applications of this nature and may ultimately rule that that a personal
       appearance is necessary.

       4. Statements Inadmissible. The Court expects the parties to address each other with
       courtesy and respect. Parties are encouraged to be frank and open in their discussions.
       Consistent with the Federal Rules, statements made by any party during the settlement
       conference are generally inadmissible at trial.1


III. Motions

A. Discovery or Other Non-Dispositive Motions

       Litigants shall make discovery or other non-dispositive motions by letter motion,
       pursuant to Local Civil Rules 37.3, which shall be filed electronically as a AMOTION.@
       Such letter motions may not exceed three pages in length, exclusive of attachments. A
       response not exceeding three pages in length, exclusive of attachments, must be served
       and filed within five business days of receipt of the letter motion. Replies are not
       permitted on letter motions. Parties must make a good faith effort, pursuant to Local
       Civil Rule 26.4 and FRCP 37(a)(1), to resolve disputes, including discussion either by
       telephone or in person, before making a motion. Failure to comply with this
       requirement, or to include a certification of such efforts consistent with FRCP 37(a)(1),
       will result in the denial of the motion. Courtesy copies of letter motions need not be
       supplied.

B. Dispositive Motions


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  Of course, though statements made during negotiations are inadmissible at the trial of that
matter, litigants and counsel are required to act honestly in their dealings with the Court and each
other during this process. See 18 U.S.C. ' 1001; ABA Model Rules of Professional Conduct,
Rule 41.


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      Dispositive motions, such as motions to dismiss and motions for summary judgment,
      must be made to the presiding district court judge, in conformance with his or her
      individual rules, unless the parties have consented to Magistrate Judge Tiscione=s
      jurisdiction for all purposes in accordance with 28 U.S.C.' 636 (c)(1).

      Where the parties have so consented, the following rules apply to dispositive motions:

      1. Pre-Motion Conferences: In all cases where the parties are represented by counsel, a
      pre-motion conference is required before making any dispositive motion. The parties
      may request such a conference by way of an electronically filed letter motion seeking a
      court conference. Letters requesting pre-motion conferences shall state, in brief, the
      grounds for the motion, shall not exceed two pages, and shall not include affidavits or
      exhibits. All parties served with a pre-motion letter shall serve and file a letter response,
      not to exceed two pages, within seven days from service of the pre-motion conference
      letter. At the conference, the parties shall present to the Court a proposed briefing
      schedule for approval. Once established, no revisions to the schedule will be made
      without the Court=s approval.

      2. Memoranda of Law: Memoranda of law in support of and in opposition to motions on
      notice are limited to 25 pages, and reply memoranda are limited to 10 pages. Case
      citations must contain pinpoint cites. All memoranda of law must use reasonable
      margins, double spacing, and a reasonable font. Legal arguments must be set forth in a
      memorandum of law rather than in affidavits, affirmations, or declarations. See Local
      Civil Rule 7.1. Any papers not complying with these requirements will be rejected.
      Citations to the docket should be made at the end of the sentence with “Docket Entry
      (“DE”) [docket number].” Thereafter, any further citations to docket may be made with
      a short-cite at the end of the sentence with “DE [docket number].”

      3. The ABundling@ Rule: No motion papers may be filed until the motion has been fully
      briefed. The initial movant is responsible for filing all of the motion and cross-motion
      papers on the date the reply brief is scheduled to be filed or the return date in the
      approved briefing schedule, whichever is later.

      4. Courtesy Copies: After electronic filing, the initial movant shall provide to the Court
      one hard copy of all motion and cross-motion papers, marked as ACourtesy Copy.@

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       Courtesy copies of dispositive motions made to the district judge should not be provided
       to Magistrate Judge Tiscione.

C. Oral Arguments on Motions
     Requests for oral argument must be made at the time the motion is submitted for
     decision. The Court will determine whether argument will be heard and, if so, will
     advise counsel of the argument date.

D. Citations to the Record.

Parties should cite to the record – including to specific transcript pages – in summary judgment
motions, and any motions predicated on evidence adduced at a hearing or trial (e.g., preliminary
injunction applications, motion for new trial, motion for judgment as a matter of law, etc.).
Failure to provide citations to the record constitutes grounds for denial. Anderson v.
Aparicio, No. CV 90-1913 GRB, 2014 WL 2619062, at *6 (E.D.N.Y. June 12, 2014) (“Where a
party attempts to meet the heavy burden of overturning a jury verdict based upon the weight of the
evidence, the failure to present the Court with record evidence to substantiate its claims—standing
alone—provides sufficient basis to deny the motion”).

E. Motions Pursuant to Fed. R. App. P. 4(a)(4)(A)

Nothing in these individual rules should be construed to require a pre-motion conference for
motions pursuant to Federal Rule of Appellate Procedure 4(a)(4)(A), and such motions should be
filed when made without respect to the above-described “bundling” rule.


IV. Pretrial Procedures

A. Pretrial Orders in Cases to be Tried by District Judges. The parties must submit a
proposed joint pretrial order in the format prescribed by the district court judge on or before the
date prescribed in the Scheduling Order.

B. Cases before Magistrate Judge Tiscione for All Purposes

       Joint Pretrial Orders. On the date specified in the scheduling order, the parties shall
       submit a proposed joint pretrial order that includes the following:


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      1. A brief statement by plaintiff as to the basis of subject matter jurisdiction, and a brief
      statement by each other party as to the presence or absence of subject matter jurisdiction.
      Such statements shall include citations to all statutes relied on and relevant facts as to
      citizenship and jurisdictional amount;
      2. A brief summary by each party of the claims and defenses it has asserted and which
      remain to be tried, without recital of evidentiary matter, but including citations to all
      statutes on which the party is relying;
      3. A statement by each party as to whether the case is to be tried with or without a jury,
      and the number of trial days needed;
      4. Any stipulations or statement of facts that have been agreed to by all parties;
      5. A list by each party of the fact and expert witnesses whose testimony is to be offered in
      its case in chief, indicating whether such witnesses will testify in person or by deposition.
      Only listed witnesses will be permitted to testify, except for good cause shown;
      6. A designation by each party of deposition testimony to be offered in its case in chief,
      with any cross-designations and objections by any other party; and,
      7. A list of exhibits to be offered in evidence and, if not admitted by stipulation, the party
      or parties who will be offering them. Where possible, the schedule must also include
      potential impeachment documents and/or exhibits, as well as exhibits that will be offered
      only on rebuttal. The parties must list and briefly describe the basis for any objections
      that they have to the admissibility of any exhibits to be offered by any other party.
      Parties are expected to resolve before trial all issues of authenticity, best evidence, chain
      of custody, and related grounds. Only the exhibits listed will be received in evidence in
      the party’s case in chief except for good cause shown. All exhibits must be pre-marked
      for the trial, placed in binders with tabs identifying the exhibit, and exchanged with the
      other parties and delivered to the Court at least ten days before trial.
      Filings Prior to Trial. Unless otherwise ordered by the Court, each party shall
      electronically file the following items fifteen (15) days prior to the commencement date
      of trial:
      1. Proposed, Non-Standard Voir Dire Questions;
      2. Requests to Charge, which should be limited to the elements of the claims, the
      damages sought and defenses. General instructions will be prepared by the Court.
      Proposed jury charges must also be submitted via electronic media in Microsoft Word

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       format;
       3. Motions in Limine: All motions addressing any evidentiary or other issues that should
       be resolved in limine. Any opposition should be filed seven (7) days prior to jury
       selection. Any reply should be made in the same manner three (3) days prior to jury
       selection.
       4. For non-jury trials, a trial brief/memorandum of law providing a concise overview of
       the facts to be presented at trial and an analysis of disputed legal issues.


V. Sealing

Parties wishing to seal documents must first obtain court permission by filing a motion for leave
to file a sealed document. For instructions on how to file documents under seal please consult
the Eastern District’s User Guide for electronic case filing available on the EDNY website or
contact 718-613-2610. Please note that the Court cannot retroactively seal a publicly filed
document, even if the public filing was erroneous. Gambale v. Deutsche Bank AG, 377 F.3d
133, 144 & n.11 (2d Cir. 2004) (holding that courts “simply do not have the power, even were
we of the mind to use it if we had, to make what has thus become public private again,” even if
that document contains “the secret to making the hydrogen bomb”).



VI. Construction

These individual practice rules shall not curtail or otherwise limit Magistrate Judge Tiscione=s
discretion over all matters relating to cases over which he presides, or confer any substantive
rights upon any party. In addition, these rules shall not be construed to limit the authority of any
judicial officer assigned to a particular case.




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